                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

      v.                                                Case No. 99-CR-168

CHARA HORTMAN BROWN,
             Defendant.


                                   DECISION AND ORDER

      Defendant Chara Hortman Brown requested early termination of her supervised release

pursuant to 18 U.S.C. § 3583(e)(1). I ordered responses from the government and probation

office, and permitted defendant to reply. I now deny the request.

                              I. FACTS AND BACKGROUND

      Defendant pleaded guilty to conspiracy to possess with intent to distribute five kilograms

or more of cocaine and to launder money. On January 30, 2001, I sentenced her to 70 months

in prison, a $1000 fine and five years of supervised release. Defendant took no direct appeal

but later filed requests for collateral relief under 28 U.S.C. § 2241 & 2255, which I denied.

Defendant was released from prison on April 30, 2004, and is scheduled to discharge from

supervision on April 29, 2009.

      In her motion for early termination, defendant indicates that while in prison she

completed the 500-hour drug treatment program. Upon her release to a halfway house, she

obtained employment as a K-5 assistant teacher at Woodson Academy. Following her release

from the halfway house, she worked as a lead K-5 assistant at the Milwaukee Multi-Cultural

Academy from June 2004 to June 2006. Since August 2006, she has been employed as the



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office manager for the Washington DuBoise Christian Academy. She has also been enrolled

at MATC since fall 2004 and expects to earn an associate degree in business by January 2008.

Her current and former employers have written positive letters.

       Defendant also indicates that she has been involved in charitable and community work.

In the summer of 2007, she assisted in a marrow donor registration drive sponsored by the

Blood Center of Wisconsin. Defendant also organized a back to school neighborhood party

in August 2007, obtaining schools supplies from corporate donors, which were handed out to

attending children.

       Defendant further indicates that while on supervision she has completed a nine-month

cognitive thinking program and a one-year substance abuse program. All of her drug screens

have been negative, and she is not currently involved in mandatory programming due to her

positive adjustment.

       The probation office indicates that defendant has generally been compliant. She

completed drug and alcohol treatment, and her thirty random drug screens have all been

negative. She has also paid her fine in full. However, defendant has on two occasions violated

her condition on the opening of new lines of credit. In June 2004, she purchased a used car

without prior approval, and in October 2005 she leased a car without prior approval. Defendant

admitted the former purchase shortly after she made it, but the probation officer did not

discover the latter transaction until March 2006.     The probation officer issued a verbal

reprimand for the latter violation.

       The government states that while defendant’s conduct and accomplishments are

commendable, they are also what we expect of those on supervised release. Therefore, it

opposes early termination.

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                           II. APPLICABLE LEGAL STANDARD

       Section 3583(e)(1) provides that the court may:

       terminate a term of supervised release and discharge the defendant released at
       any time after the expiration of one year of supervised release, pursuant to the
       provisions of the Federal Rules of Criminal Procedure relating to the modification
       of probation, if it is satisfied that such action is warranted by the conduct of the
       defendant released and the interest of justice[.]

Thus, the court may terminate a defendant’s supervised release if (1) she has served at least

one year; (2) considering the sentencing factors in 18 U.S.C. § 3553(a) as well as the

defendant’s conduct, termination is in the interests of justice; and (3) the government is given

notice and an opportunity to be heard. See United States v. Medina, 17 F. Supp. 2d 245, 245

(S.D.N.Y. 1998).

       The conduct of the defendant necessary to justify early termination must include more

than simply following the rules of supervision. Otherwise, every defendant who avoided

revocation would be eligible for early termination. Instead, termination is generally granted only

in cases with a new or unforeseen circumstance, such as where the defendant’s conditions

unreasonably impede her rehabilitation or where the defendant’s behavior has been

exceptionally good. See, e.g., United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997);

Medina, 17 F. Supp. 2d at 246-47; see also United States v. Caruso, 241 F. Supp. 2d 466,

468-69 (D.N.J. 2003) (stating that early termination of probation is not warranted based on

“mere compliance with the terms of probation” but rather “only in cases where the defendant

demonstrates changed circumstances, such as exceptionally good behavior”).




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                                         III. DISCUSSION

        Early termination is not warranted in this case. While defendant has generally been

compliant, I am concerned that she has twice violated special condition 3 on the opening of

new lines of credit. Defendant’s employment and educational endeavors are laudable, but they

are also what we expect of those on supervised release. Defendant’s charitable work does

exceed general expectations, but I cannot conclude that such work is exceptional. Defendant

makes no showing that the conditions of supervised release impede her rehabilitation or

impose any other undue hardship.1 It appears that based on her compliance, her current

supervision regimen is fairly limited.

        Further, given the seriousness of the offenses, early termination would not be in the

interest of justice. I held defendant responsible for nine kilograms of cocaine under U.S.S.G.

§ 2D1.1(c), a large amount. I further found that her money laundering offense involved

$1,000,000 under U.S.S.G. § 2S1.1(b)(2). Defendant qualified for the safety valve, which

allowed me to sentence her below the otherwise applicable ten-year mandatory minimum term

on the drug trafficking count, and I selected a prison term at the low end of the applicable

guideline range. To terminate supervision early and, in effect, reduce the sentence further

would depreciate the seriousness of these crimes. See 18 U.S.C. § 3553(a)(2)(A). Based on

her lack of previous record and her performance on supervision, defendant does not appear

to present a particular risk of recidivism, but given the nature of the crime I believe it

appropriate to require defendant to serve out her supervision term to assure the protection of

the public. See 18 U.S.C. § 3553(a)(2)(C). Defendant does not appear to currently have


        1
            I note that I recently granted defendant permission to take a Caribbean cruise. (R.
608.)

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correctional treatment needs, see § 3553(a)(2)(D), but supervision still serves the purposes of

protecting the public and deterring defendant from possibly re-offending, see § 3553(a)(2)(B)

& (C).

                                     IV. CONCLUSION

         THEREFORE, IT IS ORDERED that defendant’s motion to terminate supervised release

(R. 606) is DENIED.

         Dated at Milwaukee, Wisconsin, this 5th day of September, 2007.


                                         /s Lynn Adelman
                                         ______________________________
                                         LYNN ADELMAN
                                         District Judge




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